Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 1 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 2 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 3 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 4 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 5 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 6 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 7 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 8 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 9 of 10
Case 1:09-cr-20875-PAS Document 232 Entered on FLSD Docket 08/04/2010 Page 10 of 10
